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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )    Criminal Action
                                    )    No. 21-10104-PBS
VLADISLAV KLYUSHIN,                 )
                                    )
                     Defendant.     )
______________________________      )

                             MEMORANDUM AND ORDER

                                  July 26, 2023

Saris, D.J.

                                  INTRODUCTION

     Following       a   10-day    trial,    a   jury   convicted        Vladislav

Klyushin,     a    Russian    national,     of    conspiring      with    Russian

co-conspirators to hack into the computer systems of two American

filing agents, Toppan Merrill and Donnelly Financial (“DFIN”), and

use confidential information to make profitable trades in the

American stock market. Specifically, the jury found him guilty of

a conspiracy to obtain unauthorized access to computers or to

commit wire fraud or securities fraud in violation of 18 U.S.C.

§ 371 (Count I); wire fraud in violation of 18 U.S.C. §§ 1343 & 2

(Count II);       unauthorized    access    to   computers   in   violation     of

18 U.S.C. §§ 1030(a)(4) & 2 (Count III); and securities fraud in

violation of 15 U.S.C. §§ 78j(b) & 78ff(a), 17 C.F.R. § 240.10b-5,

and 18 U.S.C. § 2 (Count IV). The jury was instructed that to



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convict, it had to also find that the government had proven by a

preponderance of the evidence that for each count, this Court had

venue.

     Klyushin now moves for a judgment of acquittal under Fed. R.

Crim. P. 29(c) for improper venue. Dkt. 222. He raises four main

arguments. First, he argues that venue in this district was not

foreseeable. Second, he argues that even if a Boston server was

used to gain unauthorized access to confidential information, the

hacked information comprised “packets of information” that passed

through the server, and “pass through” venue is not proper in this

case. Third, he argues no “essential conduct” of the crime occurred

in the District of Massachusetts. Fourth, he argues that venue

under 18 U.S.C. § 3238 for the conspiracy charge was improper.

After hearing, the Court DENIES the motion to acquit.

                         FACTUAL BACKGROUND

     Taken in the light most favorable to the government, the

evidence supports the following facts relevant to the dispute on

venue:

     Klyushin was the owner and first deputy general director of

M-13, an information technology company in Moscow. Co-conspirators

Ivan Ermakov and Nikolai Rumiantcev were employees of M-13. M-13

purported to offer technological and media monitoring services to

enterprises and government entities in Russia.

     From   approximately   January    2018   through   September      2020,


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Klyushin, Ermakov, Rumiantcev, and others -- all Russians --

conspired to gain access to information stored on the computer

networks of two American filing agents, Toppan Merrill and DFIN.

Filing agents assist public companies with their Securities and

Exchange Commission (SEC) filings, including by preparing reports

of   quarterly   and   annual     financial   data.   Between   October   and

November    2018,      Klyushin       and   his    co-conspirators   gained

unauthorized access to DFIN’s network in Illinois via a Boston

server. Once inside the DFIN system, the hackers downloaded 1 back

to a server in Boston the confidential earnings reports of many

public companies, using the stolen user credentials of a DFIN

employee.

      The Internet Protocol (“IP”) addresses through which the

conspirators     downloaded     the     material   non-public   information

(“MNPI”) belonged to an IP address block (the “104 IPs”) assigned

to Stackpath, a virtual private network (“VPN”) service provider.

See Dkt. 181 at 123:23-127:11 (government expert testifying that

the 104 IPs “obtained access to and downloaded” documents from


1 The dictionary meaning of “download” is “to copy (a program,
file, etc.) from a central or remote computer system to a computer,
mobile device, etc., now usually via the internet.” Download,
Oxford English Dictionary, www.oed.com/view/Entry/57256 (last
visited July 25, 2023). Another dictionary similarly defines
“download” as “to transfer (as information, a file, or software)
from a usually large remote computer to the memory of another
device (as a smaller computer).” Download, Merriam-Webster
Unabridged           Dictionary,           www.unabridged.merriam-
webster.com/unabridged/download (last visited July 25, 2023).


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DFIN). VPN service providers offer subscribers a way “to maintain

a degree of anonymity on the Internet.” Dkt. 217 at 44:16-21; see

also id. at 17:18-18:1 (Defendant’s expert J. Michael Roberts

testifying: “[Y]ou connect to the server, and your traffic is

routed to that server. That new VPN server is now acting as your

on-ramp to the Internet. So everywhere that that connection goes

to from that point [is] going to appear to be coming from that

server.”).

      Stackpath,     operating       through      subsidiaries      (e.g.,   Strong

Technology) and vendors (e.g., Micfo), leased a server physically

located in a data center on Summer Street in Boston. The 104 IPs

were assigned to this computer server, beginning on May 30, 2018

and through 2019.

      The   earnings      reports    accessed     through    the    Boston   server

included those of dozens of publicly traded companies. Klyushin

and   his   co-conspirators         placed    their   trades     only   after   the

confidential information was downloaded through the Boston server,

and revised their positions following public announcements of

those earnings. For example, confidential information pertaining

to Tesla was downloaded to the Boston server at 5:18 a.m. on

October 24, 2018. Later that morning, Klyushin bought Tesla stock.

After the market closed that day and the earnings were publicly

announced, the conspirators immediately sold their shares to great

profit.     While   the   amount     of   total    profits     is   disputed,   the


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government alleges that Klyushin profited in the amount of at least

$36 million,   and   the   conspiracy   as   a   whole   made   more   than

$90 million in profits.

     Klyushin, who resides in Russia, was arrested in Switzerland

while on a skiing trip, and was extradited to the United States

and brought directly to Boston.

                           JURY INSTRUCTIONS

     The Court gave the jury one omnibus instruction on venue:

          The Constitution and federal law require that a
     criminal defendant must be tried in the state or district
     in which the offense is committed. Where an offense spans
     multiple jurisdictions or where a crime consists of
     distinct parts which have different localities, the
     whole may be tried where any part can be proved to have
     been done. Continuing offenses that are committed in
     more than one district may be prosecuted in any district
     which such offense was begun, continued, or completed.
     A defendant must be charged in a district that has a
     meaningful connection to the allegations. To determine
     whether a meaningful connection exists, you must
     consider the nature of the crime alleged and identify
     the crime’s essential conduct elements []. You must also
     consider the locations where the criminal acts were
     committed.   The   government   must   prove   for   each
     offense -- so each one of those counts we just went
     through -- that venue is proper in the District of
     Massachusetts.
          Unlike all of the other elements that we talked
     about -- remember I said “proof beyond a reasonable
     doubt” numerous times -- but unlike all the elements
     that I have previously described, the government has to
     prove venue by a preponderance of the evidence. That’s
     a legal term, “preponderance of the evidence.” That
     means, to establish venue by a preponderance of the
     evidence, the government must prove that the fact is
     more likely true than not true[].
          To establish venue in this district, the government
     need not prove that the crimes themselves were committed



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     entirely in this district, or that the defendant himself
     was present here.
          I’m now going to focus you on conspiracy.
          With regard to the conspiracy charged in Count One,
     there’s no requirement that the entire conspiracy took
     place here in Massachusetts, or that the agreement was
     formed here. But for you to return a guilty verdict on
     the conspiracy charge in Count One, the government must
     prove by a preponderance of the evidence that any overt
     act in furtherance of the agreement took place here in
     Massachusetts.
          Alternatively -- now, I just want you to focus only
     on the conspiracy count with respect to what I’m about
     to tell you. Alternatively, with respect to the
     conspiracy   count  only,   the   government  has   this
     alternative theory of venue. Under federal law, where an
     offense is begun or committed outside the jurisdiction
     of any particular state or district, venue for
     prosecution of the offense is established in the
     district where the defendant is arrested or is first
     brought. For venue to be established for the conspiracy
     count under this alternative theory, the government must
     prove that it is more likely true than not true that the
     offense was begun or committed outside of the United
     States, and that the defendant was first brought to the
     District of Massachusetts. The government must also
     prove that the essential conduct elements of the
     conspiracy took place outside of the United States.
          If the government fails to prove venue by a
     preponderance of the evidence with respect to any count,
     you must find the defendant not guilty of that count
     only. So for every single of these verdict slips, you
     also have to find not only that the government proved
     the elements beyond a reasonable doubt, but also that it
     proved venue by a preponderance of the evidence, more
     likely true than not true.

Dkt. 218 at 136:10-138:18.

     The parties did not object to the Court’s delivery of an

omnibus   instruction   on   venue.    On   the   second   day   of    jury

deliberations, the foreperson came to the Court with the following

question: “If venue was properly established for one of the charged



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counts, does that necessarily mean that venue is proper for the

other counts?” Dkt. 219 at 4:20-22. After consulting with the

parties, the Court instructed the jury by way of written answer:

“You have to decide venue count by count. See Page 38, Lines 23

through 25,” incorporating the instruction that “[t]he government

must prove for each offense that venue is proper in the District

of Massachusetts.” Id. at 6:9-10, 5:6-10.

                             LEGAL STANDARD

     The Court “may set aside [a] verdict and enter an acquittal”

under Fed. R. Crim. P. 29(c). In ruling on a motion for judgment

of acquittal under Rule 29, the Court must “consider the evidence

as a whole taken in the light most favorable to the [g]overnment.”

United States v. Smith, 680 F.2d 255, 259 (1st Cir. 1982). If the

guilty verdict is supported by a “plausible rendition” of the

record, the Court must not disturb it. United States v. Moran, 312

F.3d 480, 487 (1st Cir. 2002).

     In assessing a Rule 29 motion, the Court “do[es] not weigh

the evidence or make any credibility judgments, as those are left

to the jury.” United States v. Merlino, 592 F.3d 22, 29 (1st Cir.

2010). Instead, the Court must “examine the evidence -- direct and

circumstantial   --   as   well   as   all   plausible   inferences    drawn

therefrom[.]” United States v. Meléndez–González, 892 F.3d 9, 17

(1st Cir. 2018) (quoting United States v. Wyatt, 561 F.3d 49, 54

(1st Cir. 2009)). Here, the Court must decide whether a rational


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jury could have found that venue was proper in this district as to

each individual count. United States v. Salinas, 373 F.3d 161, 163

(1st Cir. 2004).

                                DISCUSSION

I.   Venue

     The Venue Clause of Article III of the Constitution mandates

that the trial of all crimes “shall be held in the State where the

said Crimes shall have been committed.” U.S. Const. art. III, § 2,

cl. 3. The Venue Clause also includes an exception: the trial for

crimes “not committed within any State . . . shall be at such Place

or Places as the Congress may by Law have directed.” Id. Similarly,

the Vicinage Clause guarantees “the right to . . . an impartial

jury of the State and district wherein the crime shall have been

committed.” U.S. Const. amend. VI; see generally Smith v. United

States, 599 U.S. __, 143 S.Ct. 1594, 1602 n.4 (2023) (slip op.,

at 4).

     Courts must analyze venue separately for each individual

count of an indictment. Salinas, 373 F.3d at 163. “If the statute

under which the defendant is charged contains a specific venue

provision, that provision must be honored[.]” Id. at 164. Where an

offense   “span[s]   multiple    jurisdictions,    or   ‘where   a     crime

consists of distinct parts which have different localities[,] the

whole may be tried where any part can be proved to have been

done.’” United States v. Seward, 967 F.3d 57, 60 (1st Cir. 2020)


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(quoting United States v. Rodriguez-Moreno, 526 U.S. 275, 281

(1999)).

     In the absence of specific venue guidance and where an offense

is not continuing, the “locus delicti must be determined from the

nature of the crime alleged and the location of the act or acts

constituting it.” Salinas, 373 F.3d at 164 (quoting United States

v. Anderson, 328 U.S. 699, 703 (1946)). In doing so, courts

“identify the conduct constituting the offense (the nature of the

crime) and then discern the location of the commission of the

criminal acts.” Rodriguez-Moreno, 526 U.S. at 279.

     A trial may be held “where any part of a crime can be proved

to have been done.” Smith, 599 U.S. __, 143 S.Ct. at 1603 (slip

op., at 6) (cleaned up). For example, a defendant charged with

illegally shipping goods may be tried in any state through which

the goods were illegally transported. Armour Packing Co. v. United

States, 209 U.S. 56, 77 (1908). Though action verbs are helpful,

“requiring the presence of an action verb to define the nature of

the crime could sweep out conduct not enumerated by such action

language but nonetheless essential to the offense.” Seward, 967

F.3d at 61; see also United States v. Miller, 808 F.3d 607, 618

(2d Cir. 2015) (“[A] myopic focus on verbs can lead to overlooking

important statutory language that communicates the ‘nature of the

crime alleged,’ which is the core of the inquiry.”).




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 II.   Statutory Venue

       The government relies on the following statutory provision

 for multidistrict offenses:

       [A]ny offense against the United States begun in one
       district and completed in another, or committed in more
       than one district, may be inquired of and prosecuted in
       any district in which such offense was begun, continued,
       or completed.
       Any   offense   involving   the   use   of   the   mails,
       transportation in interstate or foreign commerce, or the
       importation of an object or person into the United States
       is a continuing offense and, except as otherwise
       expressly provided by enactment of Congress, may be
       inquired of and prosecuted in any district from,
       through, or into which such commerce, mail matter, or
       imported object or person moves.

 18 U.S.C. § 3237(a) (emphasis added). “The classic example of a

 continuing offense is a conspiracy[.]” United States v. Yashar,

 166 F.3d 873, 875 (7th Cir. 1999). It has long been held that

 “venue [is] proper so long as any act in furtherance of [a]

 conspiracy    was   committed   in   the   district[.]”    United    States

 v. Uribe, 890 F.2d 554, 558 (1st Cir. 1989); see also United States

 v. Santiago, 83 F.3d 20, 25 (1st Cir. 1996) (finding a “single,

 overt act” was “itself sufficient to sustain venue” in a drug

 conspiracy case).

III.   Foreseeability

       Klyushin argues that the government failed to prove that any

 of the conspirators “purposely availed themselves of a Boston-

 based IP address” or could have reasonably foreseen that they were

 accessing    confidential   information    via   a   Boston-based   server.


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Dkt. 222 at 3. According to Klyushin, the Boston 104 IP addresses

used in the hacking scheme were assigned at random by the VPN

service provider. See id.; Dkt. 228 at 3. Moreover, these IP

addresses were only used to access DFIN’s network from late October

to early November in 2018 -- a small window of time in the overall

charged conspiracy. In Klyushin’s telling, the evidence shows that

Boston was a mere “pass through” to Russia which Klyushin could

not reasonably have foreseen.

     To   support   a   foreseeability   requirement,   Klyushin    relies

primarily on caselaw from the Second Circuit, which held that venue

is proper in a district where “(1) the defendant intentionally or

knowingly causes an act in furtherance of the charged offense to

occur in the district of venue or (2) it is foreseeable that such

an act would occur in the district of venue.” United States v.

Svoboda, 347 F.3d 471, 483 (2d Cir. 2003). While the First Circuit

has not itself addressed such a foreseeability argument, several

circuits have explicitly rejected adopting this foreseeability

requirement for venue. See, e.g., United States v. Renteria, 903

F.3d 326, 333 (3d Cir. 2018) (declining to “adopt a reasonable

foreseeability test to establish venue under § 3237(a)”); United

States v. Gonzalez, 683 F.3d 1221, 1226 (9th Cir. 2012) (same);

United States v. Castaneda, 315 F. App’x 564, 569 (6th Cir. 2009)

(same); United States v. Johnson, 510 F.3d 521, 527 (4th Cir. 2007)




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(declining   to   “engraft   a   mens    rea   requirement   onto   a    venue

provision that clearly does not have one”).

      Given the weight of the caselaw, 2 the Court declines to adopt

the foreseeability requirement for venue under the Constitution.

Even if there were a foreseeability requirement, the Court does

not find persuasive the argument that no jury could reasonably

find that a defendant (or co-conspirators) who commits a crime by

employing a VPN service provider that uses random IP addresses

nationwide in order to preserve anonymity could not reasonably

foresee that venue would exist in a district where the assigned

server was located.

IV.   Pass Through

      Klyushin’s primary argument is that the use of IP addresses

traced to Boston was “purely coincidental,” and that none of the

“essential conduct elements” of any of the charged counts occurred

in this district. Relying heavily on a Department of Justice Manual


2  The Second Circuit recently addressed the foreseeability
requirement in United States v. Kirk Tang Yuk, 885 F.3d 57 (2d
Cir. 2018): “It is also true that our seminal case in this regard,
[Svoboda]   identified   a   foreseeability   requirement   without
extensive analysis. Nonetheless, we are bound to examine this
factor in assessing whether the venue of these prosecutions was
proper as to each defendant.” Id. at 69 n.2. The Third Circuit
also analyzed the origin and development of this foreseeability
requirement, noting, “[s]ignificantly, however, neither Svoboda
nor Kim nor Bezmalinovic actually explains why reasonable
foreseeability is required to establish venue under the
Constitution. Rather, the cases seem to derive the reasonable
foreseeability test from a generous reading of prior Second Circuit
precedent.” Renteria, 903 F.3d at 331.


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(“DOJ     Manual”),    Klyushin     argues    that   even    though    hacked

information was downloaded to the Boston 104 IP addresses, venue

was improper because the Boston server was a mere “pass through.”

The government argues that the DOJ Manual is not binding, is

outdated, and is unsupported by the caselaw. While it is true the

DOJ Manual does not create legal rights, see United States v.

Busher, 817 F.2d 1409, 1411 (9th Cir. 1987), the Manual is helpful

in framing the issues here, so I quote the relevant excerpt in

full:

          Multidistrict offenses “may be . . . prosecuted in
     any district in which such offense was begun, continued,
     or completed.” 18 U.S.C. § 3237(a). Note that only the
     “essential conduct elements” of a crime qualify. United
     States v. Rodriguez-Moreno, 526 U.S. 275, 280 (1999).
     For    instance,   section    1030(a)(2)(C)    prohibits
     intentionally accessing a computer without or in excess
     of authorization, and thereby obtaining information from
     any protected computer. The two essential conduct
     elements in section 1030(a)(2)(C) are “accessing” a
     computer and “obtaining” information. Thus, it would
     seem logical that a crime under section 1030(a)(2)(C) is
     committed where the offender initiates access and where
     the information is obtained.
          The exact location of each event -- the “accessing”
     and the “obtaining” -- may not always be easily
     determined.
          EXAMPLE: An intruder located in California uses
     communications that pass through a router in Arizona to
     break into a network in Illinois and then uses those
     network connections to obtain information from a server
     in Kentucky.
          The intruder initiated access in California, and
     the router in Arizona enabled that access. Arguably,
     however, the intruder did not achieve access until
     reaching the network in Illinois. Of course, one could
     also argue that access did not occur until the intruder
     reached the server in Kentucky where the information was
     located. Likewise, one could argue that the intruder


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obtained the information in Kentucky, or that he did not
obtain the information until it reached him in the
district where he was located, in this case, California.
     This example illustrates an offense governed by
18 U.S.C. § 3237(a). Under any of the options discussed
above, the appropriate venue would seem to include both
of the endpoints -- that is, the district in which the
offender is located (California) and the district in
which the information is located (Kentucky). It is
likely that venue is also proper at some, if not all, of
the points in between, since venue may lie “in any
district in which [a continuing] offense was begun,
continued, or completed.” 18 U.S.C. § 3237(a). Under
this section, the “accessing” and “obtaining” arguably
continued in Arizona and Illinois. Certainly, venue
seems proper in Illinois where the intruder broke into
the network. Whether the intruder committed a crime in
Arizona is less clear.
     Prosecutors looking to fix venue in the locale
through which communications passed, as in the case of
the router in Arizona, should look closely at the facts
to determine whether venue in that district would
satisfy the framework discussed above. The case for
“pass through” venue may be stronger where transmission
of the communications themselves constitutes the
criminal offense (e.g., when a threatening email is sent
in violation of 18 U.S.C. § 1030(a)(7)) and the path of
transmission is certain (e.g., when an employee’s email
is sent through a company mail server in a particular
state). . . . By contrast, in cases where the path of
transmission is unpredictable, a court may find it
difficult to conclude that a crime was committed in a
district merely because packets of information happened
to travel through that district. . . . Of course, where
the “pass through” computer itself is attacked, venue
would likely be proper based on the attack, without
reference to pass-through rationale.
     Federal prosecutors should also take note of the
Department of Justice’s policies for wire and mail
fraud, which may be analogous. For wire fraud, section
967 of the Department’s Criminal Resource Manual
provides that prosecutions “may be instituted in any
district in which an interstate or foreign transmission
was issued or terminated.” Crim. Resource Manual § 967.
Although the text of section 967 refers only to the place
of issuance or termination, the case cited in support of
that proposition, United States v. Goldberg, 830 F.2d


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     459, 465 (3d Cir. 1987), relies on 18 U.S.C. § 3237(a),
     which also includes the place where the conduct
     continued, thus leaving open the door to “pass through”
     venue. In the case of mail fraud, section 9-43.300 of
     the U.S. Attorneys’ Manual states that Department of
     Justice policy “opposes mail fraud venue based solely on
     the mail matter passing through a jurisdiction.” USAM
     9-43.300; see also Crim. Resource Manual § 966.

Comput. Crime & Intell. Prop. Section, Office of Legal Education,

Prosecuting          Computer            Crimes,        at        118-20,

http://www.justice.gov/criminal/cybercrime/docs/ccmanual.pdf

(last visited July 25, 2023).

     Analogizing the role of the Boston server in this case to

that of the router in Arizona, Klyushin emphasizes the language

that “where the path of transmission is unpredictable, a court may

find it difficult to conclude that a crime was committed in a

district merely because pockets of information happened to travel

through that district.” Dkt. 222 at 5.

     To nail down his point, Klyushin relies on United States v.

Auernheimer,   748   F.3d   525   (3d Cir.    2014),   which   provides   a

thoughtful discussion on venue in the cybercrime context:

     As we progress technologically, we must remain mindful
     that cybercrimes do not happen in some metaphysical
     location that justifies disregarding constitutional
     limits on venue. People and companies still exist in
     identifiable places in the physical world. When people
     commit crimes, we have the ability and obligation to
     ensure that they do not stand to account for those crimes
     in forums in which they performed no “essential conduct
     element” of the crimes charged.




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Id. at 541 (emphasis added). The district court in Auernheimer

found that venue was proper in New Jersey for charges of conspiracy

to violate the Computer Fraud and Abuse Act and identity fraud

because the unlawful disclosure of 4,500 New Jersey residents’

email addresses affected New Jersey citizens. Id. at 531. In

reversing,    the    Third    Circuit   distinguished        “essential    conduct

elements,”    which     can     provide      the    basis    for      venue,   from

“circumstance elements,” which cannot. Id. at 533 (citing to

Rodriguez-Moreno, 526 U.S. at 280 n.4). The Third Circuit held

that venue was improper in New Jersey because, as the accessed

servers were located in Texas and Georgia and the conspirators

were only ever located in California and Arkansas, “[n]o protected

computer was accessed and no data was obtained in New Jersey.” Id.

at 534. Further, the Third Circuit found that none of the alleged

overt acts that the government alleged in the indictment occurred

in New Jersey. Id. at 535. In Auernheimer, the conspirators did

not use an IP address on a server within New Jersey to access or

obtain information remotely. Id. at 536.

      Here,    the      government         argues    that      Auernheimer       is

distinguishable because IP addresses on the Boston server in

Massachusetts were used in accessing confidential information --

downloading and transmitting the information to Russia. Therefore,

in   the   government’s      view,   the     essential      conduct    element   of




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accessing confidential information and obtaining it happened in

Boston.

     The parties have not cited any cases addressing venue where

out-of-district actors caused in-district computers to perform the

essential criminal acts. While it is a novel issue, the government

has the better argument. The Supreme Court has declined to hold

that “verbs are the sole consideration in identifying the conduct

that constitutes an offense.” Rodriguez-Moreno, 526 U.S. at 280.

Moreover, in Smith, the Supreme Court cited favorably to an old

case, Armour Packing, to support venue for a continuing crime in

any district where the transportation of illegal goods occurred.

599 U.S. __, 143 S.Ct. at 1603 (slip op., at 6). In other contexts,

courts addressing criminal convictions have found proper venue

involving “pass through” intermediaries. See, e.g., United States

v. Blecker, 657 F.2d 629, 633 (4th Cir. 1981) (finding proper venue

for a false claims conviction “in either the district in which the

false claim is submitted to the intermediary or the district in

which the intermediary transmits the false claim to the agency”).

While Klyushin hit send on a computer in Russia, given the nature

of the charged continuing crimes, he caused the crimes to be

implemented in part in Massachusetts. Based on this evidence

concerning the use of a server in Boston, a jury could reasonably

find by a preponderance of the evidence that Klyushin’s use of the




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IP    addresses        in    Boston    was        essential     conduct,     and        that

Massachusetts had a meaningful connection to the crimes committed.

V.     Section 3238

       The government asserts venue under the so-called “High Seas”

or “First Brought” venue provision, 18 U.S.C. § 3238. Section 3238

provides that the “trial of all offenses begun or committed upon

the   high    seas,     or   elsewhere       out    of   the    jurisdiction       of    any

particular State or district, shall be in the district in which

the offender, or any one of two or more joint offenders, is

arrested or is first brought[.]” 18 U.S.C. § 3238.

       Relying    on    language      in    Article      III,   § 2,   cl.   3     of    the

Constitution, Klyushin argues that § 3238 provides venue only for

offenses “not committed within any State.” Moreover, he contends

that under the statute, venue is only proper where the offense was

committed outside of any district, pointing to the section’s title

“Offenses not committed in any district” to support his contention.

However, a title may not alter the plain meaning of the text.

Miller, 808 F.3d at 619. The provision is not restricted to crimes

“wholly”      committed      outside       the    United   States.     Id.   The    plain

language of the statute permits trial of all offenses begun or

committed outside of any state. See Chandler v. United States, 171

F.2d 921, 931-32 (1st Cir. 1948) (holding that the provision must

be    given   its     “broad    literal          meaning”).     Klyushin’s   claim        of




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unconstitutionality        is   conclusory    and   not      supported   by   any

caselaw.

      The   fundamental      question   in   deciding     the   application    of

§ 3238 is whether the acts are “essentially foreign.” See United

States v. Pendleton, 658 F.3d 299, 304-05 (3d Cir. 2011) (holding

that the crux of the defendant’s offense was “committed” outside

of the jurisdiction of any state or district, making the crime

“essentially foreign”); Miller, 808 F.3d at 620 (holding that an

offense     occurred   “in      its   essence”   abroad      was    “essentially

foreign,” and venue could be established “even though certain

offense conduct occurred in the United States”).

VI.   Sufficiency of Evidence on Each Count

      With these legal principles in mind, the Court addresses each

count.

      A.    Conspiracy (Count I)

      A rational jury could find that an overt act in furtherance

of the conspiracy took place in Boston as charged in the indictment

See   Dkt. 8    at   7-8    (alleging    that    one    of    the   conspirators

“obtain[ed] unauthorized access to the computer network of [a

filing agent] through an IP address hosted at a data center located

in Boston, Massachusetts”). The government presented evidence that

on or about October 22 and 24, 2018, one of the conspirators caused

the username and password of a DFIN employee to be transmitted

from the Boston server to DFIN’s network, for the purpose of


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obtaining   unauthorized     access,    committing     wire   fraud,    or

committing securities fraud, and then causing the information to

be transmitted to Russia.

     A rational jury could have found that the conspiracy in

Count I was “essentially foreign,” as the conspiracy was complete

(in Russia) at the time any overt act in furtherance of the

conspiracy was committed. Therefore, venue was also sufficiently

proven under 18 U.S.C. § 3238.

     B.   Wire Fraud (Count II)

     Under 18 U.S.C. § 1343, the government must prove that a

conspirator “knowingly and willfully participated in a scheme to

defraud by means of false pretenses, and that he used interstate

wire communications in furtherance of the scheme.” United States

v. Gorski, 880 F.3d 27, 37 (1st Cir. 2018).

     Courts have held that wire fraud is considered a “continuing”

offense under § 3237(a). United States v. Carpenter, 405 F. Supp.

2d 85, 91 (D. Mass. 2005), aff’d in part, appeal dismissed in part,

494 F.3d 13 (1st Cir. 2007) (holding that Massachusetts was an

appropriate venue for a wire fraud transaction that began in New

Hampshire, cleared through the Federal Reserve Bank in Boston, and

continued to a Merrill Lynch account in Pennsylvania). “[V]enue is

established in those locations where the wire transmission at issue

originated, passed through, or was received, or from which it was

‘orchestrated.’” United States v. Pace, 314 F.3d 344, 349 (9th Cir.


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2002) (emphasis added); United States v. Goldberg, 830 F.2d 459,

465 (3d Cir. 1987) (finding that § 1343 is a “continuing offense

crime[] pursuant to 18 U.S.C. § 3237”). “[T]o the extent a wire

communication is sent from one district to or through one or more

others . . . venue [is] proper in any district in which the offense

was ‘begun, continued, or completed.’” Carpenter, 405 F. Supp. 2d

at 91 (emphases added).

     A rational jury could find that a username and password were

repeatedly transmitted over the Boston 104 IPs to DFIN’s servers,

to gain direct unauthorized access to the DFIN computer network,

and that those wire communications continued through Boston. A

rational jury could have therefore found venue in Massachusetts as

to Count II.

     C.   Unauthorized Access to Computers (Count III)

     A person violates the Computer Fraud and Abuse Act (“CFAA”),

18 U.S.C. § 1030(a)(4), when he “[k]nowingly and with intent to

defraud, accesses a protected computer without authorization, or

exceeds authorized access, and by means of such conduct furthers

the intended fraud and obtains anything of value[.]” 18 U.S.C.

§ 1030(a)(4). The CFAA makes no reference to the venue of the

offense and can therefore be prosecuted as a continuing offense

under § 3237(a). See 18 U.S.C. § 3237(a) (“Any offense involving

. . . transportation in interstate or foreign commerce . . . is a

continuing     offense”).   Accessing     without    authorization      and


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obtaining confidential information have been held to be “essential

conduct elements” of crimes under the CFAA. See Auernheimer, 748

F.3d at 533-34. As previously stated, there is sufficient evidence

for a rational jury to find that the “downloading” of confidential

information to the Boston server fulfills the essential conduct

element of obtaining something of value.

      D.    Securities Fraud (Count IV)

      Under the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b),

it is unlawful to “use or employ, in connection with the purchase

or   sale   of    any   security   registered     on   a   national   securities

exchange or any security not so registered, or any securities-

based swap agreement, any manipulative or deceptive device or

contrivance in contravention of such rules and regulations as the

Commission may prescribe[.]” The Act’s venue provision states that

a “criminal proceeding may be brought in the district wherein any

act or transaction constituting the violation occurred.” 15 U.S.C.

§ 78aa. The government argues that the use of a DFIN employee’s

password     to     access      DFIN’s     network     without     authorization

constituted a “deceptive device or contrivance” and occurred using

the Boston 104 IPs. “A securities fraud violation occurs where

defendants ‘use or employ . . . any manipulative or deceptive

device,’    including     the    making    of   material   false    statements.”

United States v. Lange, 834 F.3d 58, 69 (2d Cir. 2016) (finding

false statements communicated by wire into the district where the


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crime was prosecuted were “crucial to the success of the scheme”).

Venue has been held to be proper “not only in the district where

telephonic or electronic materially fraudulent communications were

initiated, but also in the district where such communications were

received.” Id. at 70.

     A rational jury could find that the conspirators used stolen

employee credentials to download confidential information onto a

Boston server, and then used that information in the purchase and

sale of securities. A rational jury thus had sufficient evidence

to find that an “essential conduct element” of securities fraud

occurred in Massachusetts under a preponderance standard.

                                  ORDER

     For the foregoing reasons, Klyushin’s Motion to Acquit for

Improper Venue (Dkt. 222) is DENIED.

SO ORDERED.

                                  /s/ PATTI B. SARIS _______________
                                  Hon. Patti B. Saris
                                  United States District Judge




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